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 1         IN THE U.S. DISTRICT COURT FOR THE NORTHERN
 2         DISTRICT OF GEORGIA
 3         Case No.: 1:21 CV-02003-MHC-LTW
 4         JEFFREY CORDTZ,
 5           Plaintiff,
 6         v.
 7         JOHNSON LEGAL OFFICES, LLC, et al.,
 8           Defendant.
 9         --------------------------------------X
10
11
12                              REMOTE DEPOSITION
13                                OF LARRY JOHNSON
14
15
16         PRIORITY ONE COURT REPORTING SERVICES, INC.
17                290 West Mt. Pleasant Ave, Suite 2260
18                      Livingston, New Jersey               07039
19                                 (718) 983-1234
20
21
22
23
24
25   JOB NO.:       4798910

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                                                    Page 2                                                  Page 4
 1                                                            1   L A R R Y J O H N S O N, after having been
 2                                                            2   first duly sworn, was examined and testified
 3        Transcript of the deposition of the                 3   as follows:
 4    LARRY JOHNSON, called for Oral Examination in           4          MR. WEXLER: This is Shimshon Wexler
 5    the above-captioned matter, said Deposition             5       taking the individual deposition of Larry
 6    being taken pursuant to Federal Rules of                6       Johnson, a defendant in a case in the
 7    Civil Procedure by and before RANDI J.                  7       Northern District of Georgia with the
 8    GARCIA, Registered Professional Reporter, and           8       plaintiff Mr. Jeffrey Cordtz.
 9    Notary Public, via Zoom, on Monday, September           9               EXAMINATION
10    13, 2021, commencing at approximately 2:13             10 BY MR. WEXLER:
11    p.m.                                                   11       Q. Mr. Johnson, have you ever had your
12                                                           12   deposition taken before?
13                                                           13       A. Yes.
14                                                           14       Q. How many times?
15                                                           15       A. I have been involved in so many
16                                                           16   depositions, I'm not really sure. Probably two
17                                                           17   or three times, but maybe more than that.
18                                                           18   Could have been five or six.
19                                                           19       Q. When did you learn about the FTCPA?
20                                                           20       A. I don't recall.
21                                                           21       Q. Was it 10 years ago?
22                                                           22       A. Sure.
23                                                           23       Q. When you had the practice of Johnson
24                                                           24   & Freedman you knew about the FTCPA?
25                                                           25       A. Yes.
                                                    Page 3                                                  Page 5
 1   A P P E A R A N C E S:                                   1        Q. What was your reason for knowing
 2                                                            2    about the FTCPA when you had the Johnson &
 3   For the Plaintiff:                                       3    Freedman law firm?
 4   By: Shimshon Wexler, Esq.                                4        A. I would go to conferences and people
 5   Wexler Law Office LLC                                    5    would speak about it, and certainly were aware
 6   2244 Henderson Mill Rd., Suite 108                       6    of the FTCPA.
 7   Atlanta, GA 30345                                        7        Q. And did it impact your practice at
 8                                                            8    all at Johnson & Freedman?
 9   For the Defendant:                                       9        A. Did it impact my practice? It's a
10   By: Mark A. Baker, Esq.                                 10    federal law that we were aware of and tried to
11   McMichael Taylor Gray, LLC                              11    comply with when we believe that it applies.
12   Peachtree Corners                                       12        Q. When is your understanding that it
13   3550 Engineering Drive, Suite 260                       13    applied when you were at Johnson & Freedman?
14   Peachtree Corners, GA 30092                             14        A. If the law firm or an attorney was
15                                                           15    attempting to collect a consumer debt.
16                                                           16        Q. Did Johnson & Freedman do that?
17              INDEX                                        17        A. Yes.
18                                                           18        Q. Did Johnson & Freedman collect
19          WITNESS: LARRY JOHNSON                           19    deficiency judgments?
20                                                           20        A. Typically, no.
21    EXAMINATION                                  PAGE      21        Q. But sometimes yes?
22                                                           22        A. Are you talking about deficiency of a
23 By Mr. Wexler: ...............................4           23    foreclosure of a real property?
24                                                           24        Q. Yes. What type of deficiency were
25                                                           25    you thinking?

                                                                                                  2 (Pages 2 - 5)
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 1        A. Well, there's different types of              1   since Johnson & Freedman?
 2     deficiencies.                                       2      A. I guess I'm confused by the question.
 3        Q. Why don't you take me through the             3      Q. So after Johnson & Freedman closed,
 4     different types of deficiencies.                    4   ceased operations, what did you do after that?
 5        A. I don't know them all, but you would          5      A. So we stopped operations in the
 6     have a deficiency on a note, like, for a car,       6   summer of 2013, and I joined another law firm
 7     for instance.                                       7   called RCO Legal that is headquartered out of
 8        Q. What types of deficiencies did you            8   Seattle, Washington. All our firm -- basically
 9     collect?                                            9   we left the office on Friday, and we were
10        A. Me, personally, I didn't collect             10   Johnson & Freedman employees, and then on
11     really any. Is that what you're asking me,         11   Monday when we came back to the office, we were
12     what me, personally?                               12   RCO Legal employees.
13        Q. The law firm of Johnson & Freedman.          13      Q. And how long did RCO Legal last?
14        A. We typically did not collect                 14      A. We worked with them until
15     deficiency for foreclosures. Although, it may      15   September 10, 2015.
16     have happened a couple of times. There may         16      Q. And RCO Legal was what type of -- was
17     have been instances where we attempted to          17   what type of business?
18     collect for auto deficiencies.                     18      A. We were a law firm.
19        Q. Sorry, what was that other word?             19      Q. And what did they -- who did they
20        A. Auto deficiency.                             20   represent?
21        Q. Auto. So you collected on auto notes         21      A. They represented lenders similar to
22     as well?                                           22   what Johnson & Freedman -- who Johnson &
23        A. Yes.                                         23   Freedman represented.
24        Q. And can you tell me a little bit             24      Q. Did they do credit card collections?
25     about the Johnson & Freedman law firm? When        25      A. I don't believe so.
                                                 Page 7                                                  Page 9
 1     did it start?                                       1       Q. What was your position at RCO Legal?
 2        A. Johnson & Freedman originally started         2       A. I think my technical position was
 3     as Morris, Schneider and Prior in approximately     3   vice president of the southeast.
 4     1993. Then it became Morris, Schneider, Prior,      4       Q. What did you do in that position?
 5     Johnson & Freedman, and then Mr. Morris,            5       A. I oversaw the operations of the firm
 6     Mr. Prior and Mr. Schneider withdrew at some        6   in Atlanta and covered the southeast.
 7     point in approximately 2009, and it became          7       Q. The operations entailed collecting
 8     Johnson & Freedman.                                 8   credit card debt?
 9        Q. What was Johnson & Freedman's                 9       A. I don't believe so. And to the
10     business?                                          10   extent that it did, they wound it down
11        A. We were a law firm that represented          11   immediately because they had a issue with
12     lenders.                                           12   their -- some state department in the State of
13        Q. What types of lenders?                       13   Washington.
14        A. Lenders, like banks.                         14       Q. So what types of practice areas did
15        Q. Credit card company?                         15   you oversee?
16        A. I think there was a time when we did         16       A. The firm did what -- in general, we
17     some credit card debt, yes.                        17   did foreclosures, bankruptcies, evictions and
18        Q. Auto lenders?                                18   litigation. I was a managing partner when it
19        A. I think there was a time we did that.        19   was Johnson & Freedman, and then a Joel
20     We ceased operations in 2013, so it has been       20   Freedman and myself oversaw the operation that
21     over eight years ago.                              21   was at our Atlanta office.
22        Q. Okay.                                        22       Q. What type of litigation?
23        A. We ceased operations, so I'm                 23       A. All types.
24     answering -- it has been almost a decade ago.      24       Q. Could you give me an example?
25        Q. Can you walk me through what happened        25   Collections work?

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 1        A. No. We didn't do collections. We                1       A. I only do litigation, because that
 2     did -- at times, individuals would sue their          2   was my background. I handled matters that, you
 3     bank or their mortgage companies, and we would        3   know, if the client gets sued, I do commercial
 4     defend those lawsuits. I generally would have         4   litigation. I do some personal injury files.
 5     a personal injury lawsuit or two, depending --        5   I usually have two or three of those going at
 6     a paralegal would get in a car wreck and we           6   any given time. Things like that.
 7     would represent them. That type of litigation.        7       Q. It's been the same, pretty much, from
 8     We -- I -- I have done appellate work, both in        8   September 10, 2015?
 9     state and federal courts. Whatever our client         9       A. Yes.
10     would need.                                          10       Q. Do you ever handle foreclosures?
11        Q. Did you do -- you mentioned you did            11       A. Yes.
12     foreclosures in the southeast.                       12       Q. What would -- when would that come
13        A. Right.                                         13   up?
14        Q. So that would include Florida?                 14       A. So I have one client that is a local
15        A. For a time, we did foreclosures in             15   client in Georgia that still refers foreclosure
16     Florida, yes.                                        16   files to me.
17        Q. And did you participate in the                 17       Q. What is that client's name?
18     foreclosures, or your position was overseeing        18       A. State Home Mortgage.
19     them?                                                19       Q. State Home Mortgage. How many files
20        A. Yeah. I oversaw them. Joel actually            20   did they refer to you per year?
21     ran the foreclosure group.                           21       A. Well, you know, as I responded in my
22        Q. What would -- what would overseeing            22   discovery, I looked at it for the last year and
23     entail?                                              23   I have gotten three.
24        A. Keeping the clients happy. Trying to           24       Q. What about the year before that?
25     make sure that everything was done properly.         25       A. I'm not really sure, but they
                                                  Page 11                                                 Page 13
 1     Joel would have to really testify to that,            1   probably -- it is not many more than that.
 2     because he is the one that did that.                  2   They are not a large company. I would say five
 3         Q. So you would consider yourself a debt          3   to seven.
 4     collector at RCO Legal, yes?                          4       Q. How would you describe State Home
 5         A. I believe I would fall in that                 5   Mortgage's business?
 6     category or certainly be with a firm that would       6       A. They are actually owned by the State
 7     fall in that category.                                7   of Georgia. The State of Georgia has its own
 8         Q. You think being with that firm would           8   mortgage company, and that is -- that's who it
 9     qualify you as a debt collector as well?              9   is.
10         A. I don't know, because I didn't really         10       Q. Who do they lend to?
11     actively, you know, oversee stuff. I didn't          11       A. Mostly Georgia residents.
12     actively handle files. And if there was a file       12       Q. Could I get a loan from State Home
13     I actively handled, it was never a debt              13   Mortgage?
14     collection file. So I just don't know if that        14       A. I don't know their criteria.
15     would mean that I was a debt collector versus        15       Q. You would describe them as a smallish
16     the law firm.                                        16   type of company?
17         Q. What happened after September 10,             17       A. Yes.
18     2015?                                                18       Q. So I'm sorry for interrupting. We
19         A. I incorporated Johnson Legal Offices          19   were getting back -- going through the -- from
20     and worked since then as the sole attorney of        20   September 10, 2015. So we have a Johnson Legal
21     Johnson Legal Offices, LLC.                          21   Offices, and you engaged in litigation for
22         Q. Do you have staff?                            22   them?
23         A. No.                                           23       A. Yes.
24         Q. Can you tell me about Johnson Legal           24       Q. What happens -- what happens next?
25     Offices, LLC?                                        25   So you're doing litigation, you're doing

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 1     foreclosures. Who else do you do foreclosures        1      A. Correct.
 2     for?                                                 2      Q. How often did you help them with
 3         A. That is really the only company that          3   their client?
 4     refers me foreclosures. I don't have staff,          4      A. Whenever they need any assistance, I
 5     but another law firm in Birmingham has staff         5   give them legal -- legal assistance.
 6     that handles the letters and posting                 6      Q. How often do they request your help?
 7     advertisements. The client typically arranges        7      A. I don't know.
 8     for the crying of the sale. I don't do it            8      Q. They have been requesting your help
 9     myself. What I do mostly myself is, I litigate       9   since September 10, 2015?
10     and handle litigation.                              10      A. No, I don't think so. When I left
11         Q. Who is that firm in Alabama?                 11   RCO Legal, it happened fairly quickly, and I
12         A. It's called Jauregui. I'm not sure if        12   didn't incorporate Johnson Legal -- I mean, I
13     I'm pronouncing it correctly. It's                  13   had to do an operating agreement and get all
14     J-A-U-R-E-G-U-I and Lindsey, L-I-N-D-S-E-Y.         14   that paperwork filed with the State of Georgia.
15         Q. They do -- they do the back-office           15   So I had an LLC in place. It took me about a
16     work for your foreclosure work?                     16   month to get all that done. And it was some
17         A. Foreclosure work that they would             17   time after that. I don't remember exactly
18     handle all the back-office work.                    18   when, but it wasn't immediately.
19         Q. Who's your clients that they work            19      Q. It might have been 2016?
20     with?                                               20      A. Yes.
21         A. State Home Mortgage is the only              21      Q. And do they pay you a salary or an
22     client I have.                                      22   hourly rate?
23         Q. They do the work for federal home            23      A. No. We -- we have a fee agreement.
24     mortgage?                                           24   I get a portion of the fee.
25         A. No, State Home Mortgage.                     25      Q. What's the fee agreement?
                                                 Page 15                                                   Page 17
 1         Q. This Alabama law firm helps you with          1       A. I generally get a third and they get
 2     the paperwork for State Home Mortgage?               2   two thirds, I believe.
 3         A. Yes. They send the notices, they do           3       Q. Of what fee?
 4     the ads. They or the client arranges for the         4       A. Whatever fee is generated on a file
 5     crying of sale. It means the -- the crying of        5   that we work together on.
 6     the sale. That is where someone goes and --          6       Q. So you got one third of whatever fee
 7     actually goes to the courthouse and conducts an      7   is generated on a file, and that would include
 8     auction. We call it crying of the sale. They         8   foreclosures that you conduct for them, that
 9     would -- the client or that firm would arrange       9   you helped them with?
10     for that. They would arrange for title to be        10       A. Yes.
11     searched, and they generally record the deed,       11       Q. What is your deal with State Home
12     if it goes back to the lender. Sometimes if an      12   Mortgage when you do -- when you do work for
13     individual purchases the property, the              13   State Home Mortgage?
14     foreclosure, they want them to handle the           14       A. It's the same.
15     reporting themselves. It just depends.              15       Q. You only get a third?
16         Q. That is only for State Home Mortgage?        16       A. Right.
17         A. That is the only client that I have          17       Q. So whether you bring the client or
18     that do that for us, correct.                       18   they bring the client, you're only getting a
19         Q. Because we have the letter that I            19   third?
20     attached to the opposition to the motion -- to      20       A. That is right.
21     your motion to dismiss, it had a different          21       Q. Do you have a formal relationship
22     client. It was not State Home Mortgage.             22   with the Jauregui and Lindsey law firm?
23         A. That is their client.                        23       A. I do. I personally do.
24         Q. You help them with their clients as          24       Q. What is that relationship?
25     well?                                               25       A. It's an of-counsel agreement.

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 1        Q. That is the two thirds/one third --           1       Q. Do you know how much?
 2        A. Yes.                                          2       A. It would not be very much.
 3        Q. -- that you told me about? That's             3       Q. Is it a thousand dollars?
 4     why you're on their website?                        4       A. I would only have to guess, but I've
 5        A. I haven't -- I haven't looked at              5   gotten very little.
 6     their website. I don't know. But if I'm on          6       Q. Is it a thousand dollars?
 7     there, it's because I'm of counsel.                 7       A. It was probably more than a thousand.
 8        Q. You permitted -- you permitted                8   It might be 5000. It might be 7000. It might
 9     your -- your name to appear on that website.        9   be something like that.
10     You're not doing it without authorization?         10       Q. But it's not 40,000?
11        A. I didn't know it was on there until          11       A. No.
12     you just told me, so I don't -- I don't            12       Q. Do you have this kind of of-counsel
13     remember having a discussion with them about       13   relationship with any other law firm?
14     that.                                              14       A. Not that I recall. And I answered
15        Q. Did you prohibit it?                         15   that way because we've had of-counsel
16        A. No.                                          16   relationships when we were at Johnson &
17        Q. Are you okay with it?                        17   Freedman and RCO Legal. I don't believe I have
18        A. I don't have a problem with it, no.          18   any with -- that are -- I'm sorry, RCO Legal
19        Q. So you're not going to call them             19   and Johnson & Freedman -- I don't believe I
20     after this deposition and ask them to take it      20   have any since I created Johnson Legal Offices,
21     down, are you?                                     21   other with than with Jauregui and Lindsey.
22        A. No.                                          22       Q. The client that I found on Pacer
23        Q. That is because you consider yourself        23   where you were with Jauregui and Lindsey, that
24     of counsel to that firm?                           24   was part of the fee agreement? That was
25        A. We have an of-counsel agreement.             25   their -- that was Jauregui's client?
                                                Page 19                                                 Page 21
 1         Q. And where could I find out how much          1       A. That is right.
 2     you earned from that of-counsel arrangement         2       Q. Now we are going back, and you have
 3     with the Jauregui law firm?                         3   done litigation foreclosure work -- which
 4         A. I don't know. You probably could --          4   states are you licensed in?
 5     from them, maybe.                                   5       A. I'm licensed in Georgia and
 6         Q. What about from you?                         6   Tennessee.
 7         A. I don't really designate it in my --         7       Q. Does Tennessee do judicial or
 8     I'm a small one, single practice. The majority      8   nonjudicial foreclosure?
 9     of what I do is litigation. So I don't keep up      9       A. Tennessee is a trustee state that
10     with it separately. You know what I mean?          10   handles its foreclosures nonjudicial.
11     It's not something I have a box, where I put in    11       Q. Going back to the history of Johnson
12     a check I get from them and box I put somewhere    12   Legal Offices. So you've had this relationship
13     else. It all goes in the coffer. Make sense?       13   representing State Home Mortgage, and you have
14         Q. Yes. But if you tried to do it, you         14   been with -- of-counsel with this Jauregui
15     could do it; correct? If you wanted to, you        15   firm. What else have you done?
16     have records of how much they -- of how much       16       A. I have my own surety bond agency. I
17     they paid you?                                     17   do marketing for that surety bond agency.
18         A. I have records of being paid. I             18       Q. Did you start that surety bond
19     really don't keep it separate, is what I'm         19   agency?
20     trying to explain to you. I don't keep that        20       A. So this particular agency, I went
21     separate.                                          21   into partnership with -- he is not a lawyer,
22         Q. Have they paid you for the year --          22   but he is my partner on the surety bond agency
23     what are we in -- 2021? Have they paid you         23   side, and he left a different agency and then
24     anything this year?                                24   we created our agency together. When it
25         A. Sure, they have.                            25   started, it was me and him and Joel Friedman.

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 1     The three of us owned a third, a third, a third     1   in litigation.
 2     of the surety bond agency.                          2       Q. Do you have any other matters with
 3         Q. And is the surety bond agency                3   them or is this your only matter with them?
 4     separate from Johnson Legal Offices or are          4       A. This is my only matter with them.
 5     those -- do you see those as the same?              5       Q. Wilmington Savings Fund, the owner of
 6         A. No. They are completely separate.            6   Aspen Holdings Trust, is this your only matter
 7         Q. They are completely separate.                7   with them or do you represent them in more than
 8         A. Yes.                                         8   this matter?
 9         Q. Why is it that you use the surety            9       A. It's the only matter with them.
10     bond agency e-mail address when we're              10       Q. You never represented Aspen
11     communicating about this case?                     11   Properties Group LLC, APG Revocable Trust,
12         A. Because that is my e-mail address           12   Wilmington Savings Fund or Aspen Holdings Trust
13     that I use.                                        13   before; is that right?
14         Q. That is just for convenience, but it        14       A. I've never represented any of the
15     doesn't represent -- those entities are totally    15   Aspen matters, but Wilmington Savings is a
16     separate?                                          16   company that operates as a trustee, and they --
17         A. That is correct.                            17   I have seen their name before in the last 15
18         Q. And tax returns, Johnson Legal              18   years. So I would not say that I have never
19     Offices has a -- its tax return is completely      19   represented them in a matter, but I certainly
20     separate from the surety bond agency?              20   haven't at Johnson Legal Offices.
21         A. So the surety bond agency has its own       21       Q. You don't have any ongoing
22     tax return. Johnson Legal Offices is a single      22   relationship with Wilmington Savings Fund?
23     party LLC. The tax returns goes through my         23       A. No.
24     personal tax returns.                              24       Q. So when you brought the Fulton County
25         Q. Does Johnson Legal Offices provide          25   lawsuit, you had a relationship with Aspen
                                                Page 23                                                    Page 25
 1     any services to the surety bond agency?             1   Properties Group LLC, or who was your
 2        A. You know, from time to time, very             2   relationship with when you brought the Fulton
 3     infrequently, but it has before. Yes.               3   County lawsuit in January 2021 against
 4        Q. It has been paid for those services?          4   Mr. Cordtz?
 5        A. Yes.                                          5       A. It was the named plaintiff in that
 6        Q. Do you know how much?                         6   case. And I don't have that pleading in front
 7        A. Probably five grand over the last             7   of me. Whoever the named plaintiff was in that
 8     eight years.                                        8   case. That's who that relationship was.
 9        Q. Aside from the surety bond agency,            9       Q. Was there an individual? How did
10     State Home Mortgage, and the relationship with     10   they find you?
11     Jauregui, what else -- what else does Johnson      11       A. They actually -- I was asked to be
12     Legal Office -- I guess Johnson Legal Offices      12   co-counsel from the other law firm that was
13     doesn't even do the surety, but that is you.       13   involved in that case before. I forget the
14     So what else does Johnson Legal Offices do?        14   name off the top of my head. It is the same
15        A. That's it.                                   15   firm that Mark Baker is with.
16        Q. They have a relationship with the            16       Q. The McMichael law firm didn't ask
17     lenders in this case, the Aspen Properties         17   you. It was actually Aspen that called you up
18     Group, LLC as trustee of the APG Holdings          18   and asked you to do the representation?
19     Revocable Trust; is that right?                    19       A. No. McMichael, that firm, I believe
20        A. I represent them in the litigation in        20   it was Mark called me and asked me if I would
21     a matter was in Gwinnett County, as well as in     21   co-counsel with him in representing Aspen in
22     a matter that was in Fulton County as well.        22   that case.
23        Q. Okay. But tell me about your                 23       Q. Aspen didn't call you?
24     relationship with them.                            24       A. That is correct. Except for the fact
25        A. That's what I do. I represent them           25   that Mark Baker -- that firm represented Aspen

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 1     and then called me on Aspen's behalf. My             1   connection when I started representing Aspen in
 2     understanding.                                       2   the litigation. I was not aware of FCI.
 3        Q. When you filed that Fulton County              3      Q. By the time you answered the
 4     lawsuit, what was your review of the file            4   discovery requests you were aware; is that
 5     before you sued for 200 and something thousand       5   right?
 6     dollars?                                             6      A. Well, you sued them in this case.
 7        A. I had reviewed everything that had             7   And I think that is when I really became aware.
 8     been provided to me that was involved in the         8   But I'm not -- I might have become aware
 9     case in Gwinnett County.                             9   earlier, but I never considered myself to
10        Q. Anything else?                                10   represent anybody other than the people I
11        A. I don't recall any documents that I           11   represented in the litigation. They could
12     necessarily reviewed separate from those. I         12   represent Bank of America, but just because I'm
13     don't recall that. But it could -- it               13   handling a case for them, doesn't mean I
14     certainly could have been the case. I'm sure I      14   represent Bank of America too. I was handling
15     had some attorney-client privileged                 15   a case on behalf of Aspen.
16     communications that I am not going to get into.     16      Q. But Aspen works in conjunction with
17        Q. I just want facts.                            17   FCI to collect this debt; is that right?
18        A. You asked about communications.               18      A. They could work in conjunction with
19        Q. Okay.                                         19   FedEx, but it doesn't mean that I represent
20        A. I'm not going to get into those. I            20   FedEx. But I do not represent FCI on this
21     had communications with Aspen. So I can say         21   matter.
22     that. But beyond that, I don't recall               22      Q. But you don't either represent Aspen
23     because -- because it was kind of -- it was the     23   directly; is that right? You're only
24     same debt that was involved.                        24   connection with Aspen is through the McMichael
25        Q. Did you review any monthly statements         25   law firm; is that right?
                                                 Page 27                                                 Page 29
 1     sent to Mr. Cordtz?                                  1       A. No. I represent them directly.
 2         A. I do not recall reviewing any monthly         2       Q. Even though you've had no
 3     statements, no.                                      3   communications with them; is that right?
 4         Q. Were you aware that McMichael                 4       A. No. I had communications with them.
 5     represented FCI Lender Services with respect to      5       Q. What communications have you had with
 6     Mr. Cordtz?                                          6   them? Facts. I don't want to hear the content
 7         A. Not at that time.                             7   of the communications.
 8         Q. Would it be fair to say that                  8       A. Phone calls.
 9     McMichael represents FCI Lender Services?            9       Q. And that was directly with Aspen?
10         A. You have to ask them. I know they do         10       A. Yes.
11     in this case, but you have to ask them about        11       Q. And do you know the name of the
12     what they consider to be who they represent.        12   individual you had a phone call with?
13         Q. Now, if they represented FCI Lender          13       A. I believe there were two individuals
14     Services, would you consider yourself to be         14   that I spoke with, but one of them was the
15     representing FCI Lender Services?                   15   affidavit -- person who signed the affidavit
16         A. No.                                          16   that I produced last week. I don't have that
17         Q. Because they were -- if they're              17   in front of me. It's the affidavit I filed in
18     representing FCI Lender Services, and you're        18   the Gwinnett case.
19     co-counseling with them, so you, by connection,     19       Q. That was the person you spoke to
20     are representing FCI Lender Services?               20   before you filed the Fulton lawsuit?
21         A. No.                                          21       A. I don't remember the timing, but I
22         Q. But you do represent Aspen Properties        22   believe I spoke with them before I filed the
23     because of that same connection; is that right?     23   Fulton lawsuit.
24         A. I don't know about the connection            24       Q. But it was different parties; right?
25     with FCI. I wasn't aware there was any              25   Because you actually filed the Fulton lawsuit

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                                                 Page 30                                                 Page 32
 1     in the name of an entity that actually didn't        1       A. I don't believe so.
 2     own the loan; is that right?                         2       Q. But you spoke to the same people that
 3         A. So I represented the party that I             3   knew about both entities?
 4     actually filed the lawsuit on behalf of.             4       A. Yeah. There were two people I spoke
 5         Q. What about the new party that                 5   with.
 6     actually -- that actually bought the account?        6       Q. I see. McMichael, have they asked
 7     Did a party buy the account?                         7   you for help on other occasions?
 8         A. It was transferred, ultimately, to            8       A. No.
 9     Wilmington Savings. I didn't -- as trustee, I        9       Q. I'm looking at the checks here that
10     didn't represent them in -- my recollection         10   you produced. I see an invoice number
11     is -- and I'm pretty sure of this one -- I          11   MTGO1.005 for $585. You don't know what that
12     didn't represent Wilmington Savings in the          12   is about?
13     Fulton case because we dismissed that case. We      13       A. All those invoices relate to this
14     filed a motion in the Gwinnett case. And that       14   matter.
15     was when I was under the impression that Aspen      15       Q. They relate to this matter.
16     Property Holdings statutory -- Delaware             16       A. Whether it's a Gwinnett case or the
17     Statutory Trust, I believe they held a note         17   case in Fulton.
18     because defense counsel in that case provided       18       Q. What does AP stand for?
19     me the letter of transfer. And he is the one        19       A. I don't know what you're referring
20     that indicated to me that it had been purchased     20   to.
21     by Aspen Property Holdings.                         21       Q. They sent you $5,480.85, and it is
22            But later -- and we actually moved to        22   for consolidated check from AP.
23     have Aspen Property Holdings added to the           23       A. I would guess that means accounts
24     lawsuit in Gwinnett, and then later we              24   payable. But you would have to ask them to be
25     discovered that it was actually Wilmington          25   for sure.
                                                 Page 31                                                 Page 33
 1     Savings trustee of Aspen Property Holdings.          1      Q. They're different invoice numbers.
 2         Q. You mean Aspen Holdings Trust?                2   And why do some have the description of Cordtz,
 3         A. Yes.                                          3   and some not?
 4         Q. So if I'm not mistaken, you never             4      A. Oh, I don't know.
 5     represented Aspen Holdings Trust?                    5      Q. You're telling me that they are all
 6         A. No. Actually, I did.                          6   for Cordtz?
 7         Q. So that is the one -- so that is the          7      A. Yes.
 8     one who you had a conversation with prior to         8      Q. Have you ever done any other work for
 9     filing Fulton County?                                9   them?
10         A. Yes. It was -- there was -- you              10      A. No.
11     know, there was an Aspen Properties -- and I'm      11      Q. How did they find you?
12     sorry, I don't have the names in front of me.       12      A. Mark Baker was a partner of mine
13     But there was an Aspen Properties that I            13   previously, and January Taylor worked in the --
14     originally represented, and then at some point,     14   worked at the law firm Johnson & Freedman, so I
15     there was a transfer -- I believe there to be a     15   know them personally.
16     transfer of Aspen Holdings Trust. So I had --       16      Q. But how did they know you were
17     there was a couple of people that I spoke with      17   interested in doing this work?
18     on the phone. When I spoke to them -- and I         18      A. They know that I do litigation. They
19     believe I spoke to them on a couple of              19   thought I was pretty good at what I do, and so
20     occasions -- and I can't tell you exactly what      20   they had a need for a co-counsel, and they
21     their titles were.                                  21   called me.
22         Q. Those are the same entities; correct?        22      Q. What is your fee arrangement with
23         A. No.                                          23   them?
24         Q. Similar -- similar, same ownership;          24      A. It's an hourly rate.
25     correct?                                            25      Q. Okay. Do you mind telling me how

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                                                 Page 34                                                   Page 36
 1     much the hourly rate is?                             1   attorney -- I'm sorry. Scratch that.
 2          A. $300 an hour. It could be -- I'm             2          You believe the statutory attorney's
 3     sorry, it could be 275. I don't remember, but        3   fee is fair, even though it is above the actual
 4     it's in that range.                                  4   reasonable attorney's fees, "yes" or "no"?
 5          Q. Do you have a written agreement with         5       A. I consider it to be reasonable
 6     them?                                                6   because it defines reasonable in the statute.
 7          A. Not that I recall.                           7   The Georgia legislature has defined it to be
 8          Q. So Mark Baker just called you out of         8   reasonable in the statute. There is lot of
 9     the blue five years later after you closed RCO       9   case law on that.
10     Legal or -- I mean, after you opened Johnson --     10       Q. My understanding was that that was
11     I didn't establish when RCO Legal closed. But       11   the cap. It was not -- it was not -- that's
12     after you opened Johnson Legal Offices, he just     12   the most that are -- that's allowed to be
13     called you out of the blue, or have you kept in     13   charged, but not -- not -- not more, but it
14     touch with him?                                     14   could be less.
15          A. We've kept in touch.                        15       A. I don't know if that is true or not.
16          Q. But not as far as legal matters? He         16       Q. When Jauregui uses you for debt
17     hasn't referred you any other legal matters; is     17   collection services, how often do they put your
18     that right?                                         18   name in a letter similar to the one that I
19          A. That is correct.                            19   attached in my opposition to your motion to
20          Q. January Taylor has not referred you         20   dismiss the amended complaint?
21     any other legal matters; is that correct?           21       A. I don't believe I do debt collection
22          A. That is correct.                            22   services for them. So I don't know if I can
23          Q. Is it fair to say that you do               23   answer the question because I provide them
24     foreclosure work for the Jauregui law firm as       24   legal advice.
25     well as the home -- the State Home Mortgage?        25       Q. How often is your name inserted in a
                                                 Page 35                                                   Page 37
 1         A. No. I give them legal advice, but             1   letter similar to the one that was sent to the
 2     they actually handle the foreclosure.                2   debtor in that case?
 3         Q. My understanding is that the hearing          3       A. I'm not aware of my personal name
 4     a couple of weeks ago -- maybe last -- maybe it      4   being included in any letter.
 5     was last week, you asked for about 30,000 in         5       Q. So you didn't allow your name to be
 6     attorney's fees for the collection case for          6   used in that letter?
 7     Mr. Cordtz.                                          7       A. I have not seen any letter where they
 8         A. Yes.                                          8   used my personal name.
 9         Q. Who would get those attorney's fees?          9       Q. Johnson Legal Offices? Did you --
10         A. The judgment would be on behalf of           10       A. So, you know, if you're asking about
11     the client in that case. And so the client          11   Johnson Legal Offices, I was confused by your
12     that we asked for that was on behalf of             12   question.
13     Wilmington Savings as trustee.                      13       Q. I see. So Johnson Legal Offices --
14         Q. And would they give you those                14       A. So what is your question?
15     attorney's fees?                                    15       Q. Did you allow Jauregui to use your
16         A. I don't know.                                16   name within the letter?
17         Q. Are you expecting them?                      17       A. If you're talking about when you say
18         A. I'm not expecting them.                      18   "your name, Johnson Legal Offices"? Yes.
19         Q. Do you think it's fair to ask for            19       Q. I'm sorry?
20     more attorney's fees than actually were             20       A. Yes.
21     incurred?                                           21       Q. How many letters did you allow your
22         A. I don't know what that means. That           22   name to be inserted on?
23     is a statutory attorney's fee allowed under         23       A. I don't know the number, but it has
24     Georgia law.                                        24   not been a lot. When you say "your name", just
25         Q. And you believe the statutory                25   to be clear, it's Johnson Legal Offices.

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                                                  Page 38                                                   Page 40
 1         Q. Johnson Legal Offices. And that one            1       Q. What was the date of default?
 2     is, would you say more than 20?                       2       A. Based on his complaint, he was in
 3         A. Probably more than 20, yes.                    3   default before September of 2012. I don't know
 4         Q. More than 100?                                 4   how familiar you are with the Gwinnett case,
 5         A. I don't think it's anywhere close to           5   but the lawsuit alleges there was a settlement
 6     100.                                                  6   offer made to them in September of 2012 for a
 7         Q. Do you plan on doing more debt                 7   reduced amount for them to pay off the loan and
 8     collection work for McMichael Taylor?                 8   gave them 30 days. And prior to that time
 9         A. So I don't know how to answer that             9   he -- Mr. Cordtz was already in default. So
10     question. I don't do debt collection work for        10   certainly, in September 2012 he was in default
11     them.                                                11   and never made a payment after that.
12         Q. Do you plan on engaging, in similar           12       Q. How did you know the amount that he
13     circumstances to Mr. Cordtz, to represent            13   owed in September 2012?
14     lenders against Mr. Cordtz with McMichael --         14       A. That was provided to me by the
15         A. I do not plan on that.                        15   client.
16         Q. Do you have systems in place to               16       Q. Did you see any statements?
17     prevent FTCPA violations?                            17       A. No.
18         A. It is just me. I'm the only person            18       Q. Did you rely exclusively on the
19     here. So I rely on my own knowledge and              19   client?
20     training.                                            20       A. No. I had documentation indicating
21         Q. Prior to the January Fulton lawsuit,          21   what the -- what the principal amount was owed.
22     how did you calculate the balance owed?              22       Q. What is that documentation showing
23         A. I took the amount that was provided           23   the principal amount owed?
24     to me by the client and I -- I guess they gave       24       A. How much, you mean?
25     me per diem, like they did in the affidavit          25       Q. Yeah.
                                                  Page 39                                                   Page 41
 1     that I provided to you, and so I would have to 1              A. It was the amount that was included
 2     count the days and multiply that by the per     2         in the affidavit that I provided to you.
 3     diem.                                           3             Q. What was that documentation you
 4         Q. How did you calculate the April          4         reviewed?
 5     letter that was sent to Mr. Cordtz?             5             A. It was a documentation from, I
 6         A. So that one I actually calculated        6         believe, it was FDIC, on a document of
 7     from his initial default, which was -- my       7         transfer. It wasn't the actual assignment.
 8     understanding is was in 2012. But the client 8            But it was a transfer document where they
 9     calculated it, as you can see from the          9         transferred a bunch of loans, like a bunch. So
10     affidavit I provided to you, from 2015. So     10         the Cordtz loan was one of those, and it
11     while they could have asserted more interest 11           included the principal amount owed.
12     than they did they, they had a three-year      12             Q. Did it strike you that the number was
13     additional amount of interest they decided not 13         kind of like a round number, the 197.5 or
14     to seek.                                       14         198.5, did that strike you that it was a round
15         Q. That's why the three years makes up 15             number?
16     the $80,000?                                   16             A. No, it didn't.
17         A. I don't know how much it makes up. 17                  Q. That it ends in zeros like that?
18     It makes up a lot.                             18             A. If you read the actual loan document,
19         Q. So would you say that letter is the     19         they -- it appears to read like an interest
20     wrong amount?                                  20         only. So when you take a loan, and then you
21         A. That is not the amount that they        21         pay money back, it is only for the interest
22     wanted me to pursue in the ultimate summary 22            that was owed. So typically, loans are in
23     judgment motion I filed in Gwinnett County. 23            round numbers like that. And if your
24         Q. Was that the amount owed?               24         payments -- the principal amount is going to be
25         A. I believe that it was.                  25         a round number like that.

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 1         Q. I see. Do you agree that the FTCPA             1       A. Because I don't remember answering...
 2     prohibits sending a letter to a consumer while        2       Q. 37.
 3     he is represented by counsel?                         3       A. Do you want to read that to me? I'm
 4         A. Not in every case.                             4   sorry.
 5         Q. What would those cases be that it              5       Q. Sure. "Defendant JLO" -- I'm sorry.
 6     doesn't apply?                                        6   "Admit that your income is greater than 100,000
 7         A. Well, the FTCPA doesn't apply to               7   for the year 2020. "
 8     every letter that goes to a borrower.                 8          "Response: Defendant JLO and
 9         Q. What about the letter specifically             9   defendant LWJ respond to this request as
10     that you sent Mr. Cordtz in April 2021? Does         10   follows: Defendant JLO and defendant LWJ deny
11     the FTCPA apply to that letter?                      11   that defendant LWJ had a net income greater
12         A. I don't believe that I'm a debt               12   than 100,000 for the year 2020. "
13     collector under the FTCPA. So I don't believe        13          "Defendant JLO and defendant LWJ deny
14     it would apply to that letter.                       14   the remaining allegations contained in request
15         Q. If you were a debt collector, and I'm         15   number 37."
16     not saying that you are, would you be allowed        16       A. So there's different kinds of income.
17     to contact a consumer who is represented by          17   So I was referred a net income, and so my net
18     counsel?                                             18   income was that amount.
19         A. I'm not 100 percent sure on that. I           19       Q. I'm sorry.
20     mean, because counsel was copied on that letter      20       A. I believe you asked if my net income
21     and was aware of it.                                 21   was greater than 100. And my response was, I
22         Q. Was there any special reason that it          22   denied that it was greater than 100.
23     had to go to him, the communication had to go        23       Q. Okay. You're denying that it is
24     to him?                                              24   greater than 100; is that right?
25         A. Just that it's required under the             25       A. That is right.
                                                  Page 43                                                  Page 45
 1     statutes.                                             1       Q. And if we added up these Cordtz
 2         Q. Had you provided the attorney's fees           2   amounts, the amounts that you were paid for
 3     notice prior to that April letter?                    3   Cordtz, it's about $10,000; is that right?
 4         A. I believe so.                                  4       A. Your -- that's why I was very
 5         Q. Was it required under the statute?             5   specific in my response. There is gross income
 6         A. I don't know -- I don't know a thing           6   and there is net income.
 7     in the statute that says you can't provide            7       Q. Okay.
 8     multiple notices.                                     8       A. Net income is you take the gross
 9         Q. But you know that it was required?             9   income and you deduct all your expenses and
10         A. I don't know how to answer that               10   everything out of it. So that's why I refer to
11     question. As far as legal goes, it wasn't            11   it as net income.
12     prohibited. There is notice that it is               12       Q. What is your total net income, if you
13     required, so I don't know how else to answer         13   don't mind?
14     that question.                                       14       A. I don't -- what -- I don't know
15         Q. Do you know the professional rules of         15   recall for the specific year, but I know it was
16     responsibility say you should not contact a          16   less than 100 grand for that year, because I
17     represented party?                                   17   looked at it back then.
18         A. I'm not sure which rule you're                18       Q. Do you expect 2021 to be greater than
19     referring to. I felt like my letter was in           19   100 or less than 100?
20     compliance with the laws.                            20       A. You know, I'm not sure because it
21         Q. In discovery responses, I saw that it         21   depends on expenses.
22     said that you earned less than $100,000 for the      22       Q. How did you create the April 2021
23     year 2020; is that right?                            23   letter to Mr. Johnson?
24         A. Can you refer me to the question?             24       A. Mr. Cordtz?
25         Q. Sure.                                         25       Q. Sorry. Yes.

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 1         A. On my computer.                             1   were -- when the bond company had a lawsuit
 2         Q. Okay. And how was the content               2   filed against it, and I defended them in that
 3     created?                                           3   lawsuit.
 4         A. I typed it.                                 4       Q. What do you do for the bond company
 5         Q. Where did you get the content from?         5   now?
 6         A. From the statute.                           6       A. I do marketing, so I try to convince
 7         Q. Was it an original letter or you had        7   other people to use the bond company for their
 8     the basic format of the letter and you just        8   surety bonds.
 9     incorporated the basic format of the letter to     9       Q. But nothing else besides marketing?
10     the letter to Mr. Johnson?                        10       A. That's right. Other than that one
11         A. To Mr. Cordtz?                             11   case. I defended them in a case.
12         Q. I'm sorry, I need a break.                 12       Q. And when you do work for Jauregui or
13         A. Do you want to take a break?               13   McMichael Taylor, or the home properties, what
14         Q. We could go for -- just answer this        14   do you tell the bond company, that you're just
15     question, and then take five minutes.             15   not able to work today, or how do you excuse
16         A. I don't recall.                            16   yourself from working for that company with
17         Q. You don't recall where the content of      17   other work?
18     that letter came from?                            18       A. That is our arrangement.
19         A. No, I don't recall if I used another       19       Q. So the arrangement is, you're allowed
20     letter.                                           20   to do other work whenever you please or...
21         Q. I see.                                     21       A. Yes. Can I clarify one other thing?
22         A. Or if I drafted it from scratch. I         22       Q. Sure.
23     don't remember.                                   23       A. There was another matter that I gave
24             MR. WEXLER: Can we take five              24   some legal advice to McMichael, the firm -- is
25         minutes?                                      25   that the name of the firm?
                                               Page 47                                                  Page 49
 1      (Thereupon, a brief recess was taken.)            1       Q. Okay.
 2 BY MR. WEXLER:                                         2       A. And it was a matter where they were
 3      Q. How did you meet the Jauregui law              3   in litigation, but I never entered an
 4   firm? How were you introduced to them?               4   appearance on that, and I gave them some
 5      A. So they actually assisted us, Johnson          5   advice. And so there was the second matter and
 6   & Freedman and RCO Legal, with matters in            6   I wanted to clarify that.
 7   Alabama.                                             7       Q. Was that litigation -- what type of
 8      Q. Is that why you're the registered              8   litigation was that, just very generally?
 9   agent of that company?                               9       A. I believe they're defending their
10      A. I don't know.                                 10   client in a matter where they have been sued by
11      Q. Why are you the registered agent of           11   a company that was -- that had a commercial
12   that company?                                       12   loan. But I never entered an appearance in the
13      A. I didn't remember that I was, but if          13   case, but I did review some things and give
14   I am a registered agent, they would have asked      14   them my thoughts on some legal matters.
15   me and I would have said okay.                      15           MR. WEXLER: I think this is it. I
16      Q. Do you have any ownership interest in         16       don't have any anything else.
17   that company?                                       17           THE WITNESS: I don't know if Mark
18      A. No.                                           18       has any questions.
19      Q. What does the bond company do?                19           MR. BAKER: I do not have any
20      A. It only handles surety bonds.                 20       questions.
21      Q. Does it ever do collections work?             21           (Time Noted: 3:13 p.m.)
22      A. No.                                           22
23      Q. Don't you have to sometimes collect           23
24   the bond that is paid?                              24
25      A. No. I represented them when they              25

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                                                     Page 50                                                           Page 52
                                                                1         ERRATA SHEET
 1                CERTIFICATE                                   2          Priority-One/Veritext
 2                                                              3 JOB # 4798910
                                                                4 ATTACH TO DEPO OF: LARRY JOHNSON
 3            I, the undersigned authority, hereby                Case: CORDTZ v. JOHNSON LEGAL OFFICES, LLC, et al.
                                                                5 Date of Depo: 9/13/2021
 4     certify that the foregoing transcript, page 1            6 Instructions: Please read this copy of your
 5     through 49 is a true and correct transcription             deposition and make note of any errors in the
                                                                7 transcription on this page. DO NOT mark on the
 6     of the deposition of Larry Johnson taken before            transcript itself. Sign and date errata sheet
                                                                8 Thank you.
 7     me at the time and place set forth on the title          9
                                                                   PAGE LINE            ERROR OR AMENDMENT
 8     page hereof.                                            10 ______ ______ _______________________________
 9            I further certify that said witness                 ______ ______ _______________________________
                                                               11 ______ ______ _______________________________
10     was duly sworn by me according to law.                     ______ ______ _______________________________
                                                               12 ______ ______ _______________________________
11            I further certify that I am not of                  ______ ______ _______________________________
12     counsel to any of the parties to said cause or          13 ______ ______ _______________________________
                                                                  ______ ______ _______________________________
13     otherwise interested in the event thereof.              14 ______ ______ _______________________________
                                                                  ______ ______ _______________________________
14            IN WITNESS WHEREOF I hereunto set my             15 ______ ______ _______________________________
15     hand and affix official seal this 15th day of              ______ ______ _______________________________
                                                               16 ______ ______ _______________________________
16     September, 2021.                                           ______ ______ _______________________________
                                                               17 ______ ______ _______________________________
                   <%1571,Signature%>                             ______ ______ _______________________________
17            _____________________________________            18 ______ ______ _______________________________
                                                                  ______ ______ _______________________________
18            RANDI GARCIA, COURT REPORTER, RPR                19 ______ ______ _______________________________
                                                                  ______ ______ _______________________________
19                           NOTARY PUBLIC                     20 ______ ______ _______________________________
                                                                  ______ ______ _______________________________
20                                                             21 ______ ______ _______________________________
21                                                                ______ ______ _______________________________
                                                               22 ______ ______ _______________________________
22                                                                ______ ______ _______________________________
                                                               23 ______ ______ _______________________________
23                                                                ______ ______ _______________________________
24                                                             24
                                                                  Date ________ ________________________
25                                                             25

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 1      I have read the foregoing transcript of my
 2      deposition and find it to be true and
 3      accurate to the best of my knowledge and
 4      belief.
 5
 6
 7
 8      _____________________
 9      LARRY JOHNSON
10      Sworn and subscribed to before me on
11
12      this _____ day
13      of _______________ 2021.
14
15
16
17      Notary_______________________
18      My Commission Expires________
19
20     PRIORITY-ONE COURT REPORTING SERVICES, INC.
21            (718) 983-1234
22
23
24
25

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